Case 2:22-cv-00688-JMY Document 187-1 Filed 08/09/24 Page 1 of 4




                  EXHIBIT "A"
                 Case 2:22-cv-00688-JMY Document 187-1 Filed 08/09/24 Page 2 of 4


                                                                                                                               Joseph Ross | Associate
                                                                                                      Direct 609.986.1370 | jross@goldbergsegalla.com




                                                                  May 28, 2024


     Via Email: garylightman@lightmanlaw.com
       Gary P. Lightman, Esquire
       Lightman & Manochi
       156 Inverness Drive
       Blue Bill, PA 19422

                      Re:        American Environmental Enterprises, Inc., d/b/a
                                 THESAFETYHOUSE.COM v. Manfred Sternberg, Esquire and Manfred
                                 Sternberg & Associates, PC, and Charlton Holdings Group, LLC, and
                                 Samuel Gross
                                 US District Court for the Eastern District of PA 2:22-cv-00688
                                 GS File No.: 8925.0007

     Dear Mr. Lightman:

              Thank you for your willingness to revise your inadequate discovery responses. During a recent
     conversation amongst our offices, you requested that we more clearly document our objections to the
     plaintiff’s discovery deficiencies. For the reasons set forth herein, and as articulated by telephone, the
     responses require revision. We appreciate your efforts in avoiding motion practice.

              On April 22, 2024 the plaintiff provided its responses to written and document discovery
     issued by the “Sternberg Defendants.” Those responses are inadequate and insufficient to fulfill your
     client’s discovery obligations. Please provide verified supplements remediating the impermissible
     shortcomings within five days or, in the alternative, provide your availability during the next two weeks
     for a meet and confer pursuant to Local Rule 26.1(f) and Rule 37.

           I.         Deficiencies of Plaintiff’s Objections and Responses to the Third Set of
                      Interrogatories

             Plaintiff’s Objections and Responses to the Third Set of Interrogatories propounded by the
     Sternberg Defendants are deficient. They consist of the repetition of the following for each and every
     interrogatory:

                           Plaintiff objects to this Interrogatory because the total number of
                           Interrogatories propounded by the Sternberg Defendants exceeds the
                           25 number limit set forth in Rule 33(a) of the Federal Rules of Civil
                           Procedure.

             This so-called response is insufficient to fulfill Plaintiff’s discovery obligations. Plaintiff has
     issued three sets of interrogatories which contain, at a generous minimum, a total of 41 interrogatories
     including discrete subparts. While there is a clear argument that the overage violates Rule 33(a)(1), and
     we have discussed this previously, the Sternberg Defendants fully responded to each.
                                 Please send mail to our scanning center at: PO Box 360, Buffalo NY 14201


OFFICE LOCATION 1700 Market Street, Suite 1418, Philadelphia, PA 19103-3907   | PHONE 267-519-6800 | FAX 267-519-6801 | www.goldbergsegalla.com
       CALIFORNIA | CONNECTICUT | FLORIDA | ILLINOIS | NEW JERSEY | NEW YORK | NORTH CAROLINA | MARYLAND | MISSOURI | PENNSYLVANIA
          Case 2:22-cv-00688-JMY Document 187-1 Filed 08/09/24 Page 3 of 4


May 28, 2024
Page 2


         We expect Plaintiff to reciprocate those good faith discovery efforts. However, should
Plaintiff refuse ato do so, we will proceed appropriately and in accordance with the Federal Rules of
Civil Procedure and the Local Rules of Civil Procedure for the United States District Court for the
Eastern District of Pennsylvania. The Sternberg Defendants’ interrogatories are more than reasonable
given the nature of this matter, and they will no doubt meet the requirement of Rule 33(a)(1) that leave
“to serve additional interrogatories may be granted to the extent consistent with Rule 26(b)(1) and
(2).”

    II.      Deficiencies of Plaintiff’s Objections and Responses to the Third Request for
             Production of Documents

      Plaintiff’s Objections and Responses to the Third Request for Production of Documents
propounded by the Sternberg Defendants are deficient, as well. Specifically:

         Plaintiff’s Objections and Responses to requests 1 through 3, 5 through 8, 11 through
          14, 16, and 19 are deficient because they state that “Plaintiff believes that non-
          privileged responsive documents have already been produced.” Plaintiff’s “belief” is an
          insufficient response because Plaintiff must make a good faith search of all documents in its
          possession and certify that it knows whether non-privileged responsive documents have been
          produced. In addition, Plaintiff does not specify the privilege asserted or provide a privilege
          log. Third, Plaintiff must include in each response in which it asserts it has already produced
          responsive documents the specific Bates range identifying the prior-produced responsive
          documents.
         Plaintiff’s Objections and Responses to requests 3, 6 through 8, and 12 through 14 are
          deficient because they state that “Plaintiff will again search its records and produce
          non-privileged responsive documents that have not already been produced.” Plaintiff
          must supplement its Objections and Responses to disclose the findings of its additional search.
          In addition, Plaintiff does not specify the privilege asserted or provide a privilege log.
         Plaintiff’s Objections and Responses to requests 3, 6 through 8, 12 through 14, and 30
          are deficient because with regard to each request, the statement that “to the extent
          that it seeks information which is work-product and/or otherwise privileged” is
          impermissibly vague. Plaintiff does not specify the privilege asserted or provide a privilege
          log.
         Plaintiff’s Objections and Responses to requests 20 and 21 are deficient because they
          equivocate by stating that “non-privileged documents have been or will be produced.”
          Plaintiff must supplement its Objections and Responses to clarify whether there are any
          unproduced documents, advise when it will produce them, and specify the applicable privilege
          asserted or provide a privilege log setting forth the requisite information.
         Plaintiff’s Objections and Responses to requests 24 and 25 are deficient because they
          state that Plaintiff “does not believe that he has any documents responsive to this
          request.” Plaintiff’s “belief” is an insufficient response because Plaintiff must make a good
          faith search of all documents in its possession and certify that it knows whether or not non-
          privileged responsive documents have been produced.
        Case 2:22-cv-00688-JMY Document 187-1 Filed 08/09/24 Page 4 of 4


May 28, 2024
Page 3

      Plaintiff’s Response to request 23 is deficient because it states that “the responsive
       documents are privileged.” Plaintiff does not specify the privilege asserted or provide a
       privilege log.

       Our offices have litigated this matter on behalf of our clients for many months and, for the
most part, have made a reasonable effort to comply with our respective obligations. Plaintiff’s recent
discovery responses deviate from that pattern and clearly deviate from the Rules.

        We expect Plaintiff will promptly supplement its responses. We reiterate our expectation of
mutual good faith and look forward, if necessary, to meeting and conferring regarding the above at
our earliest mutual convenience.

                                       Very truly yours,

                                       GOLDBERG SEGALLA LLP

                                       Joseph Ross
                                       Joseph Ross


CC: Seth L. Laver, Esq. (via email)
